CaseCase: 4:17-cv-02216-RLW
     16-04153                 Doc. #: 1 Entered
                 Doc 40 Filed 08/04/17   Filed: 08/04/17
                                                  08/04/17Page: 1 of 2Main
                                                           13:04:49   PageID #: 1
                                                                           Document
                                       Pg 1 of 2
CaseCase: 4:17-cv-02216-RLW
     16-04153                 Doc. #: 1 Entered
                 Doc 40 Filed 08/04/17   Filed: 08/04/17
                                                  08/04/17Page: 2 of 2Main
                                                           13:04:49   PageID #: 2
                                                                           Document
                                       Pg 2 of 2
